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     Enterprise Claims Management, Inc., and Cannon Cochran Management Services, Petitioners  v.  Industrial Claim Appeals Office of the State of Colorado and Fozia H. Mohamed. Respondents No. 24SC660Supreme Court of Colorado, En BancApril 28, 2025
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      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 24CA151
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    